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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

    FAIR FIGHT ACTION, et al.,                )
                                              )
              Plaintiffs,                     )
                                              )
    v.                                        )     Civil Action File
                                              )
    BRAD RAFFENSPERGER, in his                      No. 1:18-cv-05391-SCJ
                                              )
    official Capacity as Secretary of         )
    State of Georgia, et al.,                 )
                                              )
              Defendants.
                                              )

                   Defendants’ Attachment D (Statement of the Case)

         I.     Defendants’ Succinct Factual Statement and Affirmative
                Defenses:

       Plaintiffs filed this lawsuit immediately after the 2018 gubernatorial
election wherein Plaintiff Fair Fight Action’s (“Fair Fight”) founder, Stacey
Abrams, lost to then-Secretary of State of Georgia, Brian Kemp. The lawsuit
was initially broad in scope, challenging virtually every aspect of Georgia’s
election administration. Most of Plaintiffs’ claims, however, were dismissed
at the summary judgment stage. What remains are three discrete issues,
spread across four counts: 1 (1) alleged insufficient training by the Secretary
of State of county election superintendents and registrars regarding in-
person absentee ballot cancellation procedures; (2) alleged insufficient efforts
by the Secretary of State to maintain accurate voter registration lists; and (3)
a challenge to the State’s implementation of the verification procedures set
forth in the Help America Vote Act (“HAVA”), whereby information provided
by individuals registering to vote is cross-referenced with information on file
with the Georgia Department of Driver Services (“DDS”) or United States
Social Security Administration (“SSA”), as required by 52 U.S.C. §
21083(a)(5) (“HAVA Match” a/k/a “Exact Match”).

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 In the interests of clarity, Defendants address Plaintiffs’ remaining claims by issue
rather than by cause of action due to the overlapping factual and legal theories
under which they are brought.
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       Plaintiffs’ claims are not supported by the evidence. Plaintiffs have
identified a small set of individuals who allegedly experienced problems while
voting, but the number, geographic scope, and severity of alleged problem(s)
experienced by these voters do not rise to a level sufficient to demonstrate an
unconstitutional burden on voting in Georgia and certainly not in a manner
that is linked to Plaintiffs’ alleged diversion of resources. Moreover, any
purported burdens are not caused by or traceable to Defendants. In addition,
as to Plaintiffs’ Fifteenth Amendment and VRA claims regarding HAVA-
Match, there is no evidence of discriminatory intent on behalf of the State in
either its adoption of implementation of the process. As to training,
Plaintiffs’ evidence does not establish a causal link between the training
provided by the Secretary of State to county election officials and any alleged
problem(s) experienced by voters.

     In addition, Defendants assert the following affirmative defenses
against Plaintiffs’ claims:

       Affirmative Defense: The allegations in Plaintiffs’ Second Amended
Complaint fail to state a claim upon which relief may be granted. Plaintiffs’
claims as to (a) training of county election officials on absentee ballot
cancellations; and (b) voter list accuracy are generalized grievances regarding
election administration and not cognizable claims under the U.S.
Constitution. They do not challenge any law, regulation, or rule enforced or
maintained by Defendants.

      Affirmative Defense: Plaintiffs’ claims are barred for failure to name
necessary and indispensable parties. To the extent that Plaintiffs continue to
seek relief from alleged harms caused by county action(s), rather than those
of Defendants, the counties must be made parties to this action.

      Affirmative Defense: This court lacks jurisdiction over Plaintiffs’ claims
because Plaintiffs lack standing to bring this action. Plaintiffs have not
suffered any particularized injuries because of any diversion of resources to
address the alleged harms that remain at issue in this case.

       Affirmative Defense: This court lacks jurisdiction over Plaintiffs’ claim
as to training of county election officials on absentee ballot cancellation
procedures because this claim is moot.



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     Affirmative Defense: Plaintiffs’ federal claims against Defendants are
barred by the Eleventh Amendment to the United States Constitution.

     Affirmative Defense: Plaintiffs’ federal claims against Defendants are
barred as they raise political questions that should not be addressed by the
Court.

   II.     All Relevant Rules, Regulations, Statutes Ordinances, and
           Illustrative Case Law Relied Upon Creating a Defense in this
           Lawsuit

   1.     A&M Gerber Chiropractic LLC v. Geico Gen. Ins. Co., 925 F.3d 1205
          (11th Cir. 2019)
   2.     Acosta v. Democratic City Comm., CV 17-1462, 2018 WL 4178522
          (E.D. Pa. Aug. 30, 2018), aff’d 767 Fed. Appx. 392 (3d Cir. 2019)
   3.     Already, LLC v. Nike, Inc., 568 U.S. 85 (2013)
   4.     Anderson v. Celebrezze, 460 U.S. 780 (1983)
   5.     Arcia v. Sec’y of Fla., 772 F.3d 1335 (11th Cir. 2014)
   6.     Bd. of Comm’rs of Bryan Cty. v. Brown, 520 U.S. 397 (1997)
   7.     Bognet v. Degraffenreid, 141 S. Ct. 2508 (2021)
   8.     Bognet v. Sec'y Commonwealth of Pennsylvania, 980 F.3d 336 (3d Cir.
          2020)
   9.     Bonner v. City of Prichard, 661 F.2d 1206 (11th Cir.1981) (en banc)
   10.    Brnovich v. Democratic Nat'l Comm., 141 S. Ct. 2321 (2021)
   11.    Brown v. Crawford, 906 F.2d 667 (11th Cir. 1990)
   12.    Bush v. Gore, 531 U.S. 98 (2000)
   13.    Cigar Ass’n of Am. v. U.S., 323 F.R.D. 54 (D.C. Dist. 2017)
   14.    City of Canton, Ohio v. Harris, 489 U.S. 378 (1989)
   15.    City of Mobile, Ala. v. Bolden, 446 U.S. 55 (1980)
   16.    Cole v. Nat'l Collegiate Athletic Ass'n, 120 F. Supp. 2d 1060 (N.D. Ga.
          2000)
   17.    Common Cause of Ga. v. Billups, 554 F.3d 1340 (11th Cir. 2009)
   18.    Connick v. Thompson, 563 U.S. 51 (2011)
   19.    Curry v. Baker, 802 F.2d 1302 (11th Cir. 1986)
   20.    Democratic Executive Committee of Florida v. Lee, 915 F.3d 1312
          (11th Cir. 2019) (J. Tjoflat, dissenting)
   21.    Donald J. Trump for President, Inc. v. Boockvar, 493 F. Supp. 3d 331
          (W.D. Pa. 2020)
   22.    Eberhardinger v. City of York, 341 F. Supp. 3d 420 (M.D. Pa. 2018),
          aff’d 782 F. App’x 180 (3d Cir. 2019)


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23. Fed. Trade Comm’n v. U.S. Work All., Inc., No. 1:08-CV-2053-WSD,
    2010 WL 11509130 (N.D. Ga. Jan. 28, 2010)
24. Fla. State Conf. of N.A.A.C.P. v. Browning, 522 F.3d 1153 (11th Cir.
    2008)
25. Focus on the Family v. Pinellas Suncoast Transit Auth., 344 F.3d 1263
    (11th Cir. 2003)
26. Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905 (D.C. Cir. 2015)
27. Frank v. Walker, 768 F.3d 744 (7th Cir. 2014)
28. Franklin v. Massachusetts, 505 U.S. 788 (1992)
29. Friedman v. Snipes, 345 F. Supp. 2d 1356 (S.D. Fla. 2004)
30. Ga. Latino Alliance for Human Rights v. Deal, 691 F.3d 1250 (11th
    Cir. 2012)
31. Ga. Republican Party v. SEC, 888 F.3d 1198 (11th Cir. 2018)
32. Gamza v. Aguirre, 619 F.2d 449 (5th Cir. 1980)
33. Gardner v. Mutz, 962 F.3d 1329 (11th Cir. 2020)
34. Greater Birmingham Ministries v. Sec'y of State for State of Alabama,
    992 F.3d 1299 (11th Cir. 2021)
35. Gwinnett Cty. NAACP v. Gwinnett Cty. Bd. of Registration &
    Elections, 446 F. Supp. 3d 1111 (N.D. Ga. 2020)
36. Hennings v. Grafton, 523 F.2d 861 (7th Cir. 1975)
37. Hollingsworth v. Perry, 570 U.S. 693, 706 (2013)
38. Holton v. City of Thomasville Sch. Dist., 425 F.3d 1325 (11th Cir.
    2005)
39. Hubbard v. Ammerman, 465 F.2d 1169 (5th Cir. 1972)
40. Hunter v. Hamilton Cty. Bd. of Elections, 850 F. Supp. 2d 795 (S.D.
    Ohio 2012)
41. Jacobson v. Fla. Sec’y of State, 974 F.3d 1236 (11th Cir. 2020)
42. Jews for Jesus, Inc. v. Hillsborough Cty. Aviation Auth., 162 F.3d 627
    (11th Cir. 1998)
43. Kerr v. City of W. Palm Beach, 875 F.2d 1546 (11th Cir. 1989)
44. Lewis v. Governor of Ala., 944 F.3d 1287 (11th Cir. 2019)
45. Lewis, Grizzle v. Kemp, 634 F.3d 1314 (11th Cir. 2011)
46. Lucas v. Townsend, 967 F.2d 549 (11th Cir. 1992)
47. Lujan v. Defs. of Wildlife, 504 U.S. 555 (1992)
48. Macuba v. Deboer, 193 F.3d 1316 (11th Cir. 1999)
49. Minnesota Majority v. Mansky, 708 F.3d 1051 (8th Cir. 2013)
50. Nat’l Treasury Emps. Union v. United States, 101 F.3d 1423 (D.C. Cir.
    1996)
51. New Georgia Project v. Raffensperger, 976 F.3d 1278 (11th Cir. 2020)
52. Owaki v. City of Miami, 491 F. Supp.2d 1140 (S.D. Fla. 2007)
53. Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89 (1984)

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54. People for the Ethical Treatment of Animals, Inc. v. Miami
    Seaquarium, 189 F. Supp. 3d 1327 (S.D. Fla. 2016)
55. Riley v. Univ. of Alabama Health Servs. Found., P.C., 990 F. Supp. 2d
    1177 (N.D. Ala. 2014)
56. Saxon v. Fielding, 614 F.2d 78 (5th Cir. 1980)
57. SEC v. Goble, 682 F.3d 934 (11th Cir. 2012)
58. Shipley v. Chicago Bd. of Election Commissioners, 947 F.3d 1056 (7th
    Cir. 2020)
59. Sierra Club v. Morton, 405 U.S. 727 (1972)
60. Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016), as revised (May 24,
    2016)
61. Staub v. Proctor Hosp., 562 U.S. 411 (2011)
62. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83 (1998)
63. Steffel v. Thompson, 415 U.S. 452 (1974)
64. Thornburg v. Gingles, 478 U.S. 30 (1986)
65. Timmons v. Twin Cities Area New Party, 520 U.S. 351 (1997)
66. Town of Chester v. Laroe Estates, Inc., 137 S. Ct. 1645 (2017)
67. Trump v. Hawaii, 138 S.Ct. 2392 (2018)
68. U.S. v. Amodeo, 916 F.3d 967 (11th Cir. 2019)
69. United States v. Jayyousi, 657 F.3d 1085 (11th Cir. 2011)
70. United States v. Sanchez-Gomez, 138 S. Ct. 1532 (2018)
71. Veasey v. Abbott, 13 F.4th 362 (5th Cir. 2021)
72. Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252
    (1977)
73. Washington v. Trump, 858 F.3d 1168 (9th Cir. 2017)
74. Whole Woman’s Health v. Jackson, No. 21-463, 2021 U.S. LEXIS 6144
    (Dec. 10, 2021)
75. Wood v. Raffensperger, 981 F.3d 1307 (11th Cir. 2020), cert. denied,
    141 S. Ct. 1379 (2021)
76. Jonathan F. Mitchell, The Writ-of-Erasure Fallacy, 104 Va. L. Rev.
    933 (2018)
77. U.S. Const. art. III, § 2
78. U.S. Const., 11th Amendment
79. 42 U.S.C. § 1983
80. 52 U.S.C. § 21083
81. O.C.G.A. § 21-2-50
82. O.C.G.A. § 21-2-99
83. O.C.G.A. § 21-2-215
84. O.C.G.A. § 21-2-216
85. O.C.G.A. § 21-2-220.1
86. O.C.G.A. § 21-2-226

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87.    O.C.G.A. § 21-2-381
88.    O.C.G.A. § 21-2-384
89.    O.C.G.A. § 21-2-385
90.    O.C.G.A. § 21-2-386
91.    O.C.G.A. § 21-2-388
92.    O.C.G.A. § 21-2-417
93.    Fed. R. Evid. 401
94.    Fed. R. Evid. 403
95.    Fed. R. Evid. 602
96.    Fed. R. Evid. 801
97.    Fed. R. Evid. 803
98.    Fed. R. Evid. 807
99.    SEB Rule 183-1-6-.06




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